oOo 6S J DH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page1of18 Page ID#:

WAYNE R. JOHNSON, ESQ. (State Bar No. 181937)
Email: wrj@wrjassoc.com

SHUKA RASSOULI, ESQ. (State Bar No. 266829)
Email: sr@wrjassoc.com

WAYNE R. JOHNSON & ASSOCIATES, PLC
9595 Wilshire Blvd. Ste 900

Beverly Hills, CA 90212

Telephone: (310) 693-6949

Facsimile: (323) 417-4791

Attorneys for Plaintiff Michael A. Baker, Executor

UNITED STATES DISTRICT COURT FOR THE

CENTRAL DISTRICT OF CALIFORNIA

MICHAEL A. BAKER, Executor of the Civil Action

Estate of Chantal Burnison, Deceased
COMPLAINT FOR JUDICIAL REVIEW

Plaintiff AND ABATEMENT OF JEOPARDY
ASSESSMENT AND JEOPARDY LEVY
v. MADE PURSUANT TO 26 U.S.C. § 7429
UNITED STATES OF AMERICA, Expedited Time Limits Apply by Statute —

See 26 U.S.C. § 7429(b)(3)
Defendant

 

 

COMPLAINT
Plaintiff MICHAEL A. BAKER, Executor of the Estate of Chantal
Burnison, Deceased (the “Estate”), by and through his attorneys, alleges and

states as follows in his Complaint against Defendant United States of America:

NATURE OF THE ACTION
1. Pursuant to § 7429(b), of 26 U.S. Code (the Internal Revenue Code;
hereinafter “IRC”), Plaintiff brings this civil action against the United States of

-1-

 

 

COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429

bk

 
ww of WwW WB

“DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 2o0f18 Page ID#:

America seeking a determination that jeopardy assessments and jeopardy levies
made by the Internal Revenue Service (“IRS”) on or about July 26, 2022, and July
27, 2022, respectively, are not reasonable under the circumstances and, inter alia,
must be abated and released in their entirety.

2, IRC § 7429(b)(3) states in relevant part: “Within 20 days after a
proceeding is commenced . . . the court shall determine — (A) whether or not —
(i) the making of the assessment . , . is reasonable under the circumstances . . .” and
“(B) whether or not the levy . . . is reasonable under the circumstances. .. .”!

3. Defendant bears the burden to prove IRS acted reasonably in making
the jeopardy assessments and issuing jeopardy levies. See 26 U.S.C. § 7429(g)(1).

4, IRC § 6861(a) allows IRS to make an immediate assessment of a tax
liability “[i]f the [Treasury] Secretary believes that the assessment or collection of
a deficiency . . . will be jeopardized by delay.”

5, IRC § 6331(a) provides that IRS may commence tax collection by
levy “[i]f the [Treasury] Secretary makes a finding that the collection of such tax
is in Jeopardy.”

6. On July 26, 2022, IRS issued a Notice of Jeopardy Assessment and
Rights to Appeal to Plaintiff concerning the personal income tax returns Chantal
Burnison (hereafter referred to as the “Decedent’”) filed with IRS for tax years 2011,
2013, 2014 and 2016, inclusive (the “Decedent Jeopardy Assessment”). The
Decedent Jeopardy Assessment notice alleges Decedent owes additional income

tax, interest, and penalties for each of taxable years 2011, 2013, 2014 and 2016.

 

l IRC § 7429(c) provides that an extension of this 20-day period may be granted for up to

40 additional days, based solely on the request of the taxpayer upon a showing of reasonable grounds.

2 The issue of whether Plaintiff owes additional taxes is not before this Court for
determination in this case. IRC § 6861(b) requires IRS to issue a notice of deficiency setting out the
asserted tax liability within 60 days of making a jeopardy assessment, which accords the taxpayer an
opportunity to challenge the underlying tax liability by filing a petition in the United States Tax Court
within 90 days. IRS issued a notice of deficiency to each of Ms. Burnison and the Estate on September
22, 2022. Plaintiff plans to timely file a petition with the Tax Court.

-2-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 
oc ff SH DB we

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 3o0f18 Page ID#

7. IRS set out its purported basis for making the Jeopardy Assessment

against Decedent in the Jeopardy Recommendation Report that accompanied the
Decedent Jeopardy Assessment (the “Decedent Jeopardy Report”).

8. Also on July 26, 2022, IRS issued a Notice of Jeopardy Assessment
and Rights to Appeal to Plaintiff alleging the Estate owed additional income tax,
interest, and penalties for taxable years 2017 and 2018, inclusive (the “Estate
Jeopardy Assessment”, which, together with the Decedent Jeopardy Assessment
may be collectively referred to as the “Jeopardy Assessments”).

9. IRS set out its purported basis for making the Jeopardy Assessment
against the Estate in the Jeopardy Recommendation Report that accompanied the
Estate Jeopardy Assessment (the “Estate Jeopardy Report”, which together with
the Decedent Jeopardy Report may be collectively referred to as the “Jeopardy
Reports”).

10. On July 27, 2022, IRS issued a Notice of Jeopardy Levy and Right of
Appeal for collection of the alleged liability set forth in the Jeopardy Assessments
to Plaintiff (the “Jeopardy Levy”).

11. The IRC and Treasury Regulations accord taxpayers the right to an
examination by IRS, see Treas. Reg. § 601.105(b)(4); an administrative review by
IRS Independent Office of Appeals (“TRS Appeals”), see Treas. Reg. § 601.106(b);
and an opportunity to petition the United States Tax Court before an assessment of
tax liability may be made, see IRC § 6213. The IRC and Treasury Regulations
similarly accord taxpayers certain rights of review before IRS may begin collection
of an assessed tax. See 26 U.S.C. §§ 6320, 6330.

12. IRC §§ 6861(a) Geopardy assessment) and 6331(a) (jeopardy levy)
allow IRS to circumvent those statutory rights and procedures under narrowly
defined and extraordinary circumstances.

13. Treasury Regulation § 301.6861-1(a) limits the basis on which IRS
may make a jeopardy assessment to the following conditions:

-3-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 
Oo CO sD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 4of18 Page ID#:

(i) The taxpayer is or appears to be designing quickly to depart

from the United States or to conceal himself or herself;

(ii) The taxpayer is or appears to be designing quickly to place his,
her, or its property beyond the reach of the Government either
by removing it from the United States, by concealing it, by
dissipating it, or by transferring it to other persons; or

(iii) The taxpayer's financial solvency is or appears to be imperiled.
Treas. Reg. § 301.6861-1(a) (incorporating by cross-reference
the three conditions set forth in Treas. Reg. § 1.6851-1(a){1)).

14. In the Jeopardy Reports, which are virtually identical to one another,
IRS relied solely on the second condition set out in Treasury Regulation § 1.6851-
1{a)(1)(ii), contending the Decedent in the past had acted, and Plaintiff is currently
acting, to conceal their assets and activities, and dissipate assets to place them
beyond Defendant’s reach. The narrative reports contained in the Jeopardy Reports
do not support these contentions. In fact, IRS, without having taken time to
understand either the facts and circumstances surrounding the Decedent’s business
activities or the Estate’s current activities, made unsupportable findings of fact. To
compound that failure, IRS now seeks to apply its flawed understanding of
Decedent’s activities against the Estate, in a gross attempt to cast Plaintiff as
engaging in misconduct. Plaintiff has done nothing of the sort.

15. IRS makes no allegation that Mr. Baker is designing quickly to depart
from the United States or conceal himself. In fact, given Mr. Baker’s extensive
personal and business connections to the Los Angeles area, there is no set of facts
that could be presented to prove such is the case.

16. IRS makes the following contentions in support of the Jeopardy
Assessments:

“...Ms. Burnison dad utilized a foreign person and companies
to conceal her activities and her estate continued the concealment and failed

-4.
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429
Oo CO sD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page5of18 Page ID#

to report the income generated on Ms. Burnison and her estate’s income tax

returns.

Ms. Burnisons [sic] and her estate’s actions have led [IRS] to
conclude that Ms. Burnison and/or her estate are or appears [sic] to be
attempting to not only conceal their activities and assets, but Ms. Burnison
and/or her estate are also attempting to dissipate the last know asset thereby

tending to prejudice or render ineffective collection of income tax.”

Decedent Jeopardy Assessment Report, Narrative — Explanation of
Assessment, page 8. (Emphasis added)

17. Nearly five years after Decedent died, the Singapore International
Commercial Court (“SICC”) determined she was the rightful owner of certain
assets then in possession of a foreign national.

18. IRS has used the Singapore case record to craft a theory of the case
suggesting that collection is jeopardized simply because Decedent owned
unreported foreign assets during her lifetime. IRS provides no evidence to suggest
Decedent knew she had an obligation to report these assets and, based upon income
tax laws existing at the time of and prior to her death, or that she was required to
pay tax on income generated by any foreign controlled corporation. A major flaw
in IRS’s theory of liability is that it ignores the very real possibility that some or all
of the income derived by the foreign entities, particularly Renslade HK, was not
includible subpart F income in the years received. Because of its rush to judgment,
IRS made no effort to understand income streams or the includability of such
income under subpart F of the Internal Revenue Code.

19. As for contentions made against Mr. Baker, personally, IRS could not
be more wrong. Since being appointed executor of Decedent’s will and estate on
February 2, 2018, in addition to administering the Estate, Mr. Baker, as executor,
has, among other things: brought suit against foreign persons in foreign courts

-5.-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 
-

Co SS sb Of OWA

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page6of18 Page ID#

(SICC) to establish the rights, if any, Decedent had in the Ethocyn Rights and other

related assets; defended against several appeals those same foreign persons filed in
opposition to the SICC’s judgments; defended against retaliatory lawsuits Weber
and his affiliates brought against the Estate in U.S. District Court; sued Decedent’s
foreign attomeys in this Court, claiming, inter alia, said attorneys defrauded
Decedent during her lifetime and breached the fiduciary duties they owed her by
working with the foreign persons to hide the fact Decedent owned the foreign assets.
20. IRS bases the Jeopardy Assessments on the following allegations,

none of which support its actions:
(a) Actions Establishing Plaintiffs Efforts to Place Property

Outside the Defendant’s Reach —

1. in 2000, Decedent entered into an agreement with a
Swiss national named, Marcus Weber (“Weber”), to
form a Hong Kong corporation known as Renslade
Holdings Limited (“Renslade HK”). Under the
agreement, Decedent would cause certain intellectual
properties referred to as Ethocyn Rights, and all rights
associated therein, (collectively, the “Ethocyn Rights”)
to be transferred to Renslade HK. Weber was the sole
shareholder of Renslade HK. Following Decedent’s
death, Mr. Baker made a demand that Weber transfer to
him, as executor of the Estate, both the Ethocyn Rights
and all profits that Renslade HK derived but did not pay
over to Decedent from its exploitation of the Ethocyn
Rights. Weber refused, claiming that he purchased the
Ethocyn Rights from a U.S. Bankruptcy Court in 2000
and, accordingly, he was the sole owner of the Ethocyn
Rights and related profits. (The ownership dispute

-6-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 
Oo 6S SF DH WF BS

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 7of18 Page ID#

ii.

lll.

iv.

resulted in Plaintiff initiating litigation against Weber

and others in the Singapore International Commercial
Court);

Decedent owned or was in control of a Singapore
corporation named BCS Business Consulting Services
Pte. Ltd. (“BCS Singapore”). Decedent owned no
interest in BCS Singapore, had no rights that, upon
exercise, would have allowed her to become an equity
holder in BCS Singapore, and had no ability to control
the activities of BCS Singapore;

Decedent failed to report income BCS Singapore
generated from sale of Ethocyn products to a U.S.
corporation named Nu Skin (neither Decedent nor
Renslade HK were parties to the Nu Skin contract. BCS
Singapore was required to report and pay U.S. taxes on
its Nu Skin sales. IRS has provided nothing to suggest it
did not);

BCS Pharma Corporation (“BCS Pharma”), a California
corporation, received payments from BCS Singapore
between 2009 and the time of Decedent’s death (BCS
Pharma received payments for product manufacturing
and fulfillment services it performed for BCS Singapore

during the years in question);

(b) Factors Evidencing Plaintiff's Efforts to Conceal Assets —

i.

In 1996 Decedent’s father, Eugene Burnison, established
the Chantal Burnison Trust (the “Trust’”’) for the benefit
of Decedent and her two minor children. Decedent was
not a grantor or settlor of the Trust. The Trust’s only

~7J-

COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

PURSUANT TO 26 U.S.C. § 7429

 
Oo Co “sR

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 8of18 Page ID#:

il.

iil.

material asset from the time of its establishment was a

residence located at 750 Sarbonne Road, Los Angeles,
CA 90077 (the “Sarbonne property”), in which Decedent
and her children resided. Decedent never served as a
trustee of the Trust and had no rights to amend, modify,
alter or terminate the Trust or any provision contained
therein;

Revenue Agent, June Pham, claims she asked Mr. Baker
to provide her with the EIN assigned to the Estate. Ms.
Pham alleges Mr. Baker gave her the Trust’s EIN, rather
than the Estate’s EIN. Even if this error was made,
Plaintiff fails to see how a mistake like this could
possibly suggest concealment on the part of either the
executor or any Plaintiff. Frankly speaking, it does not.
This is just another red herring being laid out to support
the Defendant’s unsupportable position; and

Mr. Baker allegedly failed to provide Ms. Pham with a

clear understanding as to the procedural posture of the

Singapore litigation, which is complex litigation

involving numerous actions in numerous venues and

courts throughout the world.

(ce) Facts Evidencing Attempts to Dissipate Assets —

i.

the Estate’s sale of a residence it owned at 28025 South
Peninsula Drive, Lake Arrowhead, CA 92352 (the
“Arrowhead Home”). The Arrowhead Home was, as
reported on Form 706, owned by a California LLC
named “Katja Holm, LLC, which, in turn, is wholly-
owned by the Estate; and

-§-

COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429
Oo 7S NN HD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page9of18 Page ID#

ii. | The Trust’s efforts to sell the Sarbonne property.

PARTIES

21. Plaintiff Michael A. Baker, Executor of the Estate of Chantal Burton
("Plaintiff") is the Court-appointed Executor of the estate of Chantal Burnison,
Deceased, duly appointed by the Los Angeles Probate Court on January 18, 2018
in Los Angeles County Superior Court Case No. 17STPB09489. The place of
estate administration is located at 17707 S. Santa Fe Avenue, Compton, California
90221 where Plaintiff resides. Plaintiff brings this matter in his fiduciary capacity
as the Executor of the Estate of Chantal Burnison.

22. Defendant is the United States of America.

23. IRS is an agency within the executive branch of Defendant and, at all
times relevant to this Complaint, has had sole and exclusive authority for collecting

revenue on behalf of the United States of America.

JURISDICTION

24. Plaintiff has exhausted all administrative remedies. Accordingly, this
Court has jurisdiction over this matter pursuant to IRC § 7429(b)(2){A) and 28
U.S.C. § 1346(e).

25. Pursuant to IRC § 7429(b), a taxpayer can seek judicial review in the
United States District Court within ninety (90) days of the earlier of (1) the day the
Secretary of the Treasury notifies the taxpayer of her determination of the
administrative appeal or (2) the sixteenth (16) day after which such a request for
administrative review by IRS Appeals was made. See 26 U.S.C. § 7429(b)(1).

26. On August 25, Plaintiff, through his attorneys, timely and separately
requested administrative review of the Jeopardy Assessments pursuant to IRC §
7429(a)(2).

27. Administrative hearings were held before IRS Appeals on September

-9.
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

9
h Ww bh

~— HA A

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

28, 2022 and October 5, 2022, solely concerning the Jeopardy Assessments. IRS
Appeals issued a determination letter on October 20, 2022, notifying Plaintiff it

was denying his appeals.

28. With respect to the Jeopardy Levy, on August 26, 2022, Plaintiff filed
a Request for Collection Due Process Hearing with the IRS Appeals Division
seeking administrative review of the Jeopardy Levy IRS issued to Plaintiff on July
27, 2022. An initial administrative hearing was finally held before Appeals on
December 7, 2022, approximately three and one-half months after the CDP request
was made. Prior to the December 7, 2022 hearing, neither Plaintiff nor his attorneys
received any correspondence from Appeals; notwithstanding that fact, IRS has
waged an aggressive collection campaign against Plaintiff, which has included
levying against property belonging to Plaintiff, as well as seizing Estate assets held
by certain third parties (i.e., bank and brokerage accounts).

29. Although the IRM instructs IRS to, in the case of tax obligations of
decedents, file a claim with the Probate Court, even in the case of jeopardy
assessments, Defendant has refused to do so, despite numerous requests having
been made by Plaintiff that Defendant do so.

30. This Complaint for judicial review of the Jeopardy Assessments and

Jeopardy Levy is timely filed in this Court.

VENUE

31. Venue is appropriate in this Court pursuant to IRC § 7429({e) and 28
U.S.C. § 1402(a)(1) because at all times relevant to this matter, Decedent lawfully
resided in and Plaintiff currently resides in this district.
Hl
Mh
Hl
Hf

-10-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 10o0f18 Page ID#:

10

 
SO co -~] an

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

FACTUAL BACKGROUND

32. Pursuant to the Decedent Jeopardy Assessment, IRS assessed
$56,481,436.95, inclusive of income tax, penalties, and interest, against Plaintiff
for taxable years 2011, 2013, 2014 and 2016, inclusive.

33. Pursuant to the Estate Jeopardy Assessment, IRS assessed
$4,982,948.00, inclusive of income tax, penalties, and interest, against the Estate
for taxable years 2017 and 2018, inclusive

34. Inthe Decedent Jeopardy Report, IRS alleged that Decedent failed to
report income that was earned from sale of Ethocyn Products to Nu Skin during the
years in question.

35. Inthe Estate Jeopardy Report, IRS alleged the Estate failed to report
income that was earned from the sale of Ethocyn Products to Nu Skin during tax
years 2017 and 2018.

36. Neither Decedent nor the Estate are or have ever been parties to the
contract(s) existing between BCS Singapore and Nu Skin. For that reason, neither
Decedent nor the Estate has ever “sold” Ethocyn products to Nu Skin.

37. Plaintiff denies either Decedent or the Estate underreported income
during any of the tax years in question, and contends IRS was only able to make
this claim because it failed to properly investigate and understand the nature of the
business dealings and relationships in this case. Neither Decedent nor the Estate is
or has ever been a party to the Nu Skin agreement. Consequently, no part of the
income generated from BCS Singapore’s sale of Ethocyn products to Nu Skin could
or can be attributed to either Decedent or Plaintiff during any of the tax years at
issue.

38. Although Mr. Baker splits his time between Los Angeles County and
his home in Mexico, IRS does not and cannot contend that Mr. Baker is designing
quickly to depart the United States or to conceal himself. Mr. Baker considers
himself a resident of Los Angeles County and the State of California. In addition,

-ll-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page11lof18 Page ID#

 

11
 

Mr. Baker has deep roots, both personal and professional, in the district. His

business is located in Los Angeles, County; he is employed as CFO and general
counsel of a successful business located in Compton, California (he owns no equity
interest in his employer); some of his children live in the district; Mr. Baker earned
a bachelor’s degree from the University of Southern California in the early 1970s
and subsequently earned a juris doctorate from Southwestern School of Law in or
about 1975. Mr. Baker became a member of the California State Bar in December
1975. Mr. Baker has been an instructor of international business at UCLA since
1989.

39. IRS does not and cannot contend that the Estate’s financial solvency
is imperiled. No significant creditor claims have been made to date in the probate
currently pending of and for the Estate. Moreover, despite numerous requests made
by Mr. Baker, IRS refuses to file a creditor’s claim with the Probate Court
concerning the amounts of income tax, interest, and penalties it assessed on
jeopardy basis against Plaintiff.

40. Treasury Regulation § 1.6851-1(a) requires that, in the context of a
jeopardy assessment, a determination of solvency be made without regard to the
tax liability at issue in the proposed assessment. Except for the jeopardy
assessments in question, the Estate has virtually no debts other than fees and costs
associated with probate of the Estate.

41. The Internal Revenue Manual requires that a taxpayer's financial
solvency “must be threatened . . . or there can be no jeopardy.” LR.M.
5.17.15.2.1(3) (emphasis added). There are no facts to suggest that the Estate’s
financial solvency is imperiled: the Estate has no open balance due accounts, no
outstanding judgments, and has never filed for bankruptcy. See I.R.M.
5.17.15.2.1(3) and IL.R.M. 4.15.1.9.1.3. In fact, the only threat to the Estate’s
solvency in this case exists as a result of the aggressive collection tactics IRS has
used since announcing the jeopardy assessments. For reasons detailed in 4 44,

-12-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page12o0f18 Page |ID#

 

12
Be WwW bh

oOo Oo SYS DH WT

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

below, Plaintiff is relying on assets it recovered through the Singapore litigation to

secure the award made to it. Without sufficient resources, Plaintiff's ability to
defend against existing claims and appeals brought by the Singapore defendants
will be compromised.

42. Plaintiff is not “Designing Quickly” to place assets beyond the
Defendant’s reach. In fact, the contrary is true. Since becoming executor of the
Estate, Mr. Baker has spent virtually all of his time pursuing recovery of offshore
assets he believed to be owned by Decedent, but in the wrongful possession of third
parties (i.c., Weber). Through those efforts, Mr. Baker has obtained judgments and
recovered, after payment of litigation costs and attorney’s fees, about $25,000,000,
all of which has been reported to the Probate Court before which the Estate is being
administered. The bulk of the recovered assets have been repatriated to the United
States and placed on account, in the name of, and under the EIN assigned to, the
Estate. All funds are on deposit with major U.S. banks. The entirety of these assets
is subject to the probate proceedings currently pending before the Probate Division
of the Los Angeles County Superior Court and cannot be paid over or distributed
to any person without a final Order of Distribution issued by the Probate Court.

43. Plaintiff placed IRS on notice of the Singapore litigation and the basis
of the claims made when the estate filed Form 706 with IRS on January 2, 2018.
At that time, Plaintiff informed IRS that the Estate had initiated litigation in the
SICC, identified the nature of the claims, identified the defendants against which
the claims were made and provided IRS with the SICC case number so that it could
readily obtain information about the case as desired. In fact, IRS ultimately used
the information provided with Form 706 to learn more about the Singapore
litigation. Clearly there was no effort on Plaintiffs part to conceal the Singapore
litigation from the Defendant. The record proves Plaintiff acted transparently in
regard to the Singapore litigation.

Hf

-13-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 130f18 Page ID#

 

13
~} Gn

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

44. Despite prevailing at trial, and on numerous appeals by the Singapore

defendants, the litigation with Weber and his affiliates is not yet concluded. The
Singapore defendants continue to, in Plaintiff's opinion, vexatiously press their
claims and defenses in Singapore and have now opened a new front in the United
States by suing the Plaintiff in this Court. As a result of the ongoing litigation and
challenges, it remains possible, though improbable, that the Singapore defendants
might find a way to claw back some of the assets Plaintiff recovered from them.
Recognizing this reality, a portion of the recovered assets remains held by the
Estate’s Singapore counsel as a “war chest” if you will. Despite the fact the war
chest funds are located outside the United States, the existence of these assets has
been made known to the Probate Court and such assets are subject to the probate
proceedings currently pending before the Probate Court.

45, Because all assets of the Estate are subject to probate under California
law, Mr. Baker, as executor of the Estate and Will is legally prohibited from making
any transfer or distribution of the assets without approval of the Probate Court. To
do otherwise would be a breach of Mr. Baker’s fiduciary duties and a violation of
California law.

46, Concerning the Sarbonne property, the inclusion of this asset mn this
discussion is completely inappropriate. IRS has offered nothing to suggest the Trust
is in any way owned by either the Estate or Decedent. In fact, the record is clear
the Sarbonne property is owned by the Trust and has been since 1996,
approximately 20 years before Decedent’s death, and at least fifteen years prior to
the earliest taxable year at issue in this case.

47. Decedent’s father, Eugene Burnison, (the “Trust Settlor”), purchased
the Sarbonne property from Decedent and her then husband at or about the time
they were divorcing from one another. There are no facts to suggest Mr. Burnison
purchased the property for the account of anyone other than himself, nor are there
any facts to suggest he paid anything other than full and adequate consideration for

-14-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page14of18 Page ID#

 

14
Ww bb

~~ Oo tn

10
11
12
13
14
15

16—

17
18
19
20
21
22
23
24
25
26
27
28

 

the Sarbonne property — and, given the fact Decedent was in the midst of divorcing

her husband, it is hard to imagine the transaction having been anything but
transparent as to all parties. Public records indicate Mr. Burnison purchase the
Sarbonne property approximately one-year before he formed the Trust.

48. At the time he established the Trust, April 6, 1996, the Trust Settlor
transferred title to the Sarbonne property from himself to Raymond J. Fisher, as
trustee of the Trust. Decedent had no relationship whatsoever with Mr. Fisher and
had no ability to control him or dictate his actions. Mr. Fisher was completely
independent of Decedent. Trust Settlor established the Trust for the benefit of
Decedent and her two daughters. The gift was openly and notoriously made, and
the public record supports the factual presentation made in this paragraph. It is only
because of the zeal with which IRS has pursued collection in this case that the
Defendant finds itself unable to review and accurately interpret the facts
surrounding the Trust and the Sarbonne property. IRS’ effort to treat the Trust and
Sarbonne property as part of the Estate is preposterous. Moreover, pointing to the
formation of a trust formed nearly 30 years ago by someone other than the Plaintiff
stretches credulity. The Trust is not now, nor has it ever been, an asset of the
Decedent or Plaintiff. Moreover, the Trust was formed approximately five years
before Renslade HK was even formed, and approximately fifteen years before BCS
Singapore first sold Ethocyn products to Nu Skin. For these reasons neither the
Trust nor the Sarbonne property has any relevance to this case and IRS’ effort to
use either the Sarbonne property or the Trust’s existence in support of its jeopardy
assessment decision must be ignored entirely.

49, Concerning the Arrowhead Home, the Estate reported that property on
the Form 706 it filed with IRS on January 2, 2018. Form 706 makes clear that title
to the Arrowhead Home was held by Katja Holm, LLC, a California limited
liability company wholly owned by Decedent at the time of her death. Following
Decedent’s death, the member interest in Katja Holm became an asset of the Estate

-15-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page 15o0f18 Page ID#

 

15
Oo GC sD NH

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:22-cv-08945-RSWL-E Document 1 Filed 12/09/22 Page 16 o0f18 Page ID #;

and is now subject to probate before the Probate Court.

50. In order to generate liquidity needed to support the ongoing Singapore
and other litigation, Mr. Baker made the decision to sell the Arrowhead Home. The
sale closed and the entirety of the net sales proceeds were deposited into an account
the executor established at Citibank in the name of Katja Holm, LLC. The funds
deposited remain held in that account. A portion of those proceeds have since been
placed in a T-bill portfolio at Wells Fargo Bank, in the name of Katja Holm, LLC.

51. The executor’s listing of the Arrowhead Home for sale was open and
notorious, and was not in any way concealed from IRS, the Probate Court, or any
other person. The Arrowhead Home was registered on the Multiple Listing Service
(“MLS”), a public database in which property information is disseminated among
real estate professionals for listing and marketing purposes, and the sale was made
through escrow.

52. The exercise of reasonable diligence by IRS would have readily
disclosed that the Arrowhead Home sale was not made as part of any “design” by
Plaintiff to place property beyond the reach of the Defendant. The offering of the
property and its sale were both made open and notoriously. No part of the sale was
opaque. Moreover, by selling the Arrowhead Home, the executor made estate
administration easier. He converted an illiquid asset into a liquid one, thus making
the asset more readily available to settle claims of the Estate’s creditors, of which
there currently are currently none, and ultimate distributions to beneficiaries. The
Arrowhead Home sale did place any property beyond the reach of IRS. Sale of the
Arrowhead Home did not result in concealment or dissipation of any assets. Katja
Holm, LLC and, indirectly, the Estate had the exact same amount of assets before
and after the Arrowhead Home sale. The sale’s only effect was to convert the nature
of asset owned by Katja Holm, LLC.

Hl
Hl

-16-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

16

 

PURSUANT TO 26 U.S.C. § 7429
oOo CO ~ HN Ww

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CLAIMS FOR RELIEF
53. Incorporated by reference are paragraphs 1 to 50 above as if fully

stated herein. »
54. The Jeopardy Assessments and the Jeopardy Levy are illegal and

invalid, as such assessments and levies are based upon legal and factual error, as

or, with the exercise of reasonable diligence, should have known. As such, both the
Jeopardy Assessments and the Jeopardy Levy are unreasonable under IRC §
7429(b)(3).

55. Defendant cannot meet its burden of proof set forth under IRC §
7429(g)(1) to establish the reasonableness of the Jeopardy Assessments and the
Jeopardy Levy.

56. The Jeopardy Assessments must be abated in their entirety, the
Jeopardy Levy must be released, all further collection efforts of IRS must be
enjoined, any frozen bank accounts or other property subject to lien or levy must
be fully restored and returned to the Plaintiff, and the Plaintiff's normal pre-
assessment and pre-collection due process rights must be reinstated.

57. Because, inter alia, the position of the United States in this matter is
not and has not been substantially justified, Plaintiff is entitled to recover their costs
and a reasonable attorney's fee, pursuant to 28 U.S.C. § 2412 and IRC § 7430.

WHEREFORE, Plaintiff prays that this Court:

(a) enter judgment in favor of the Plaintiff;

(b) determine that both Jeopardy Assessments and the J eopardy Levy
made against Plaintiff were not reasonable under the
circumstances;

(c) order the Defendant to abate the Jeopardy Assessments in full;

(d) order the United States to release the Jeopardy Levy and all other
liens and levies currently in force against Plaintiff;

-17-
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE

 

PURSUANT TO 26 U.S.C. § 7429

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page17of18 Page ID#

well as upon erroneous assumptions of fact, including as to matters that IRS knew

 

17
bh Ww bh

Oo fF ~~ BD Wr

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:22-cv-08945-RSWL-E Document1 Filed 12/09/22 Page18o0f18 Page |ID#

(e) reinstate the Plaintiffs statutory pre-assessment and pre-collection

due process rights;
(f) order the Defendant to pay Plaintiff for the reasonable attorneys’

fees and costs he incurred in connection with this case; and

(g)grant such other and further relief as the Court deems just and
proper.
Dated: December 9, 2022 WAYNE R. JOHNSON & ASSOCIATES,

PLC

ge fi~

Wayne R/Johnson, Esq.

Attorneys for Plaintiff

Michaél A. Baker, Executor of the
Estate of Chantal Burnison

Shuka Rassouli, Esq.
Attorneys for Plaintiff

Michael A. Baker, Executor of the
Estate of Chantal Burnison

- 18 -
COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT OF JEOPARDY ASSESSMENT AND JEOPARDY LEVY MADE
PURSUANT TO 26 U.S.C. § 7429

 

18

 
